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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Western District of Tennessee

FILED UNDER SEAL

United States of America )
Vv. )
John Kevin Phillips Case No. 1:17-cr-10018 JDB-egb
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 24, 2017 in the county of Madison in the
Western District of Tennessee , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 875(c) Interstate Communications

This criminal complaint is based on these facts:

See attached affidavit incorporated herein by reference

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. “ Complainant ’s signature wn
“ DEA Special Agent John Krieger

Printed nanie and title

Sworn to before me and signed in my presence.

$/Charmiane G. Claston
Date: 02/25/2017

ae.
JZ udge's signature ©

City and state: Jackson, Tenneessee Hon. Charmiane G. Claxton, U.S. Magistrate Judge

Printed name and title
